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 6                          UNITED STATES DISTRICT COURT
  7                       CENTRAL DISTRICT OF CALIFORNIA
  8
      ~ UNITED STATES OF AMERICA,
 9

 10                                  Plaintiff,        CASE NO.               N'~ 1~l—`t~{~3
 11                       [i~



 12                                                     ORDER OF DETENTION
 13      ~~R-NI~N~ ~`~ ~~~(
 14                                  Defendant.
15

16                                                      I.

17        A.(~ On motion of the Government in a case allegedly involving:
18             1.()     a crime of violence.
19            2. O      an offense with maximum sentence of life imprisonment or death.
20            3. ~ a narcotics or controlled substance offense with maximum sentence
21                     often or more years.
22            4.()     any felony -where the defendant has been convicted oftwo or more
23                     prior offenses described above.
24            5.()     any felony that is not otherwise a crime of violence that involves a
25                     minor victim, or possession or use ofa firearm or destructive device
26                     or any other dangerous weapon, or a failure to register under 18
27                     U.S.0 § 2250.
28        B.(~       On motion by the Government /()on Court's own motion, in a case

                                ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                       allegedly involving:
  2             (
                ~ On the further allegation by the Government of:
  3              1. ~ a serious risk that the defendant will flee.
  4              2.()        a serious risk that the defendant will:
  5                    a.()obstruct or attempt to obstruct justice.

 6                     b.()threaten, injure, or intimidate a prospective witness or juror or
  7                          attempt to do so.
 8          C. The Government~s/()is not entitled to a rebuttable presumption that no
 9               condition or combination ofconditions will reasonably assure the defendant's
 10              appearance as required and the safety of any person or the community.
 11

 12                                                       II.
 13         A. ~— The Court finds that no condition or combination of conditions will
 14                      reasonably assure:
15               1. (~      the appearance of the defendant as required.
16                     ()    and/or
17              2. ~j       the safety of any person or the community.
18          B.(~ The Court finds that the defendant has not rebutted by sufficient
19                       evidence to the contrary the presumption provided by statute.                 I~
20

21                                                       III.
22         The Court has considered:
23          A. the nature and circumstances ofthe offenses)charged, including whether the
24              offense is a crime ofviolence,a Federal crime ofterrorism, or involves a minor
25              victim or a controlled substance, firearm, explosive, or destructive device;
26         B. the weight of evidence against the defendant;
27         C. the history and characteristics of the defendant; and
28 ~       D. the nature and seriousness ofthe danger to any person or to the community.

                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                                                     IV.
  2        The Court also has considered all the evidence adduced at the hearing and the
  3        arguments        and/or   statements of counsel, and                  the     Pretrial   Services
 4         Report/recommendation.
  5

 6                                                       1~
 7         The Court bases the foregoing findings) on the following:
 8         A. ~C)        As to flight risk: ~ v ~n ~-~ ~v ~ ~ k- S'VZ~ `~~f~
 9                         n - ~~~.o~ b ~~ s~~s~~
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16        B.(~ As to danger:               f~ ^ ~~'~C o~ ~~~~•r~
17                                            P'.n o
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24                                                      VI.
25        A.() The Court finds that a serious risk exists that the defendant will:
26                    1.()obstruct or attempt to obstruct justice.

27                    2.()attempt to/( )threaten, injure or intimidate a witness or juror.
28

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1        B. The Court bases the foregoing findings) on the following:
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  9                                                  VII.
 10
 11        A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 12        B. IT IS FURTHER ORDERED that the defendant be committed to the
 13             custody of the Attorney General for confinement in a corrections facility
 14            separate, to the extent practicable, from persons awaiting or serving
 15            sentences or being held in custody pending appeal.
 16        C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
 17            opportunity for private consultation with counsel.
 18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
 19            or on request of any attorney for the Government, the person in charge of
20             the corrections facility in which the defendant is confined deliver the
21             defendant to a United States marshal for the purpose of an appearance in
22             connection with a court proceeding.
23
24
25
26 DATED:              - I ~~I Z1
                                                   Paul L. Abrams
27
                                                   UNITED STATES MAGISTRATE JUDGE
28

                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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